     Case 19-29987-JNP            Doc 68       Filed 07/09/20 Entered 07/09/20 15:45:31                      Desc Final
                                                Decree Page 1 of 1
Form 177 − fnldec

                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                          Case No.: 19−29987−JNP
                                          Chapter: 13
                                          Judge: Jerrold N. Poslusny Jr.

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Larry A. Harold                                          Tiffany L. Harold
   44 North Myrtle St.                                      44 North Myrtle St.
   Vineland, NJ 08360                                       Vineland, NJ 08360
Social Security No.:
   xxx−xx−1208                                              xxx−xx−5395
Employer's Tax I.D. No.:


                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that Isabel C. Balboa is discharged as trustee of the estate of the above named debtor(s) and the
bond is canceled; and the case of the above named debtor(s) is closed.


Dated: July 9, 2020                        Jerrold N. Poslusny Jr.
                                           Judge, United States Bankruptcy Court
